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Vanessa R. Waldref
United States Attorney — FILED IN THE U.S. DISTRICT COURT
Eastern District of Washington EASTERN DISTRICT OF WASHINGTON
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YAKIMA, WASHINGTON
UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON
UNITED STATES OF AMERICA, 1: 22-CR-2058-S AB
INDICTMENT
Plaintiff,
Vio.: 18 U.S.C. §§ 922(g)(1),
Vv. 924(a)(2)
Felon in Possession of Firearms
ALBERTO PASTRANA,
18 U.S.C. § 924(d), 28 U.S.C.
Defendant. § 2461(c)
Forfeiture Allegations
The Grand Jury charges:
On or about May 6, 2022, in the Eastern District of Washington, the Defendant,

ALBERTO PASTRANA, knowing of his status as a person previously convicted of a
crime punishable by imprisonment for a term exceeding one year, did knowingly and
intentionally possess in and affecting commerce, firearms, to wit: a Taurus, model 709
slim, 9 millimeter semi-automatic handgun bearing serial number TJW91614, and a
H&R, model 329, .22 long rifle caliber revolver bearing serial number BB032398,
which firearms had theretofore been transported in interstate and foreign commerce,

all in violation of 18 U.S.C. §§ 922(g)(1), 924(a)(2).

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NOTICE OF CRIMINAL FORFEITURE

The allegations contained in this Indictment are hereby realleged and
incorporated by reference for the purpose of alleging forfeitures. .

Pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c), upon conviction of
an offense in violation of 18 U.S.C. §§ 922(g)(1), 924(a)(2), as set forth in this
Indictment, the Defendant, ALBERTO PASTRANA, shall forfeit to the United States
of America, any firearms and ammunition involved or used in the commission of the
offense, including, but not limited to:

- a Taurus, model 709 slim, 9 MM pistol, serial number TJW91614, and

- aK&R model 329, .22 long rifle caliber revolver, serial number BB032398.

DATED this [aay of May, 2022.

Vanessa R. Waldref

United States Attorney

Richard C. Burson
Assistant United States Attorney

 

INDICTMENT-2

 
